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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

 Case No.     CV 19-9387-DMG (GJSx)                                         Date     February 3, 2020

 Title Ryan McCoy v. Michael Noak, et al.


 Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                Kane Tien                                                     Not Reported
               Deputy Clerk                                                   Court Reporter

     Attorneys Present for Plaintiff(s)                            Attorneys Present for Defendant(s)
               Not Present                                                    Not Present

 Proceedings: IN CHAMBERS - ORDER TO SHOW CAUSE RE: DISMISSAL FOR
              LACK OF PROSECUTION

         Absent a showing of good cause, an action must be dismissed without prejudice if the summons
 and complaint are not served on a defendant within 90 days after the complaint is filed. See Fed. R. Civ.
 P. 4(m). Generally, defendant must answer the complaint within 21 days after service (60 days if the
 defendant is the United States).

         In the present case, it appears that these time periods have not been met. Accordingly, the Court,
 on its own motion, orders plaintiff(s) to show cause in writing on or before February 17, 2020 why this
 action should not be dismissed for lack of prosecution.

         No oral argument of this matter will be heard unless ordered by the Court. The Order will stand
 submitted upon the filing of a written response on or before the date upon which a response by plaintiff(s)
 is due. This action will be dismissed if a written response demonstrating good cause is not filed by the
 date indicated above.




 CV-90                                 CIVIL MINUTES - GENERAL                     Initials of Deputy Clerk KT
